Case 2:22-cv-00223-Z      Document 226     Filed 02/04/25    Page 1 of 5    PageID 15088



                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION


  Alliance for Hippocratic Medicine, et al.,

                Plaintiffs,

         and

  State of Missouri, et al.,

                Intervenor-Plaintiffs,               Case No. 2:22-cv-00223-Z

         v.

  U.S. Food and Drug Administration, et
  al.,

                Defendants,

         and

  Danco Laboratories, LLC,

                Intervenor-Defendant.



 Intervenor-Plaintiffs’ Motion for Extension of Time to Respond to Motions
          to Dismiss and for Leave to File Consolidated Response

        Pursuant to Federal Rule of Civil Procedure 6, Intervenor-Plaintiffs the States

 of Missouri, Kansas, and Idaho, respectfully request (1) leave of this Court to file one

 brief in response to Defendant U.S. Food and Drug Administration, et al.’s Motion to

 Dismiss and Intervenor-Defendant Danco Laboratories LLC’s Motion to Dismiss and

 (2) an extension of time to file such response up to and including February 20, 2025.

 In support of these requests, Intervenor-Plaintiffs state the following:
Case 2:22-cv-00223-Z    Document 226       Filed 02/04/25   Page 2 of 5    PageID 15089



       1.     On January 18, 2025, Defendants filed a Motion to Dismiss Intervenor-

 Plaintiffs’ Amended Complaint (ECF 218).

       2.     On January 28, 2025, Intervenor-Defendant Danco Laboratories LLC

 filed a Motion to Dismiss Intervenor-Plaintiffs’ Amended Complaint (ECF 221).

       3.     Pursuant to Civil Rule 7.1, Intervenor-Plaintiffs have twenty-one days

 to respond to each motion.

       4.     Accordingly, Intervenor-Plaintiffs’ response to Defendants’ Motion is

 due on February 10, 2025, and their response to Intervenor-Defendant’s Motion is

 due on February 18, 2025.

       5.     The Motions to Dismiss contain similar arguments, which lend

 themselves to a joint response in the interest of judicial economy.

       6.     Additional time to respond is needed due to scheduled medical leave for

 one of the undersigned attorneys, the national observance of President’s Day on

 February 17, and the press of business.

       7.     Accordingly, Intervenor Plaintiffs respectfully request the ability to file

 one brief in response to both motions to dismiss by February 20, 2025—that is, a 10-

 day extension to respond to Defendant FDA’s motion to dismiss and a 2-day extension

 to respond to Intervenor-Defendant Danco’s motion to dismiss.

       8.     This extension is requested in good faith.

       9.     Intervenor-Defendant Danco and Defendant FDA consent to this

 motion.
Case 2:22-cv-00223-Z   Document 226     Filed 02/04/25   Page 3 of 5   PageID 15090



       Wherefore, Intervenor-Plaintiffs respectfully request a 10-day extension of

 time to respond to Defendant FDA’s motion to dismiss and a 2-day extension of time

 to respond to Intervenor-Defendant Danco’s motion to dismiss.
Case 2:22-cv-00223-Z     Document 226        Filed 02/04/25   Page 4 of 5    PageID 15091



 Dated: February 4, 2025

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Case 2:22-cv-00223-Z    Document 226      Filed 02/04/25    Page 5 of 5    PageID 15092




                           CERTIFICATE OF SERVICE

       I hereby certify that, on February 4, 2025, the foregoing was filed electronically

 through the Court’s electronic filing system and served by email on all parties.

                                               /s/ Joshua M. Divine
